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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION

GARY LEON WEBSTER                                                          PLAINTIFF
ADC # 114018

v.                        CASE NO. 3:20-CV-00235-BSM

HAROLD PERRIN                                                            DEFENDANT

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 30th day of September, 2020.


                                                 UNITED STATES DISTRICT JUDGE
